              Case 2:21-cv-00260-SAB                  ECF No. 6          filed 11/16/21    PageID.20 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_                                   FILED IN THE
                                                                                                         U.S. DISTRICT COURT
                                                     Eastern District of Washington                EASTERN DISTRICT OF WASHINGTON


                    JAMES M. HARTJEN,
                                                                                                   Nov 16, 2021
                                                                     )                                  SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:21-CV-00260-SAB
                     FACEBOOK and FBI,                               )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED WITHOUT PREJUDICE for failure to pay the filing fee or comply with the in forma
u
              pauperis requirements of 28 U.S.C.§§ 1914, 1915.




This action was (check one):
u tried by a jury with Judge                                                                           presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              Stanley A. Bastian                                             .




Date: 11/16/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lennie Rasmussen
                                                                                           %\ Deputy Clerk

                                                                             Lennie Rasmussen
